895 F.2d 1421
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.In re Thomas R. SAGE and Vincent Chiola.
    No. 89-1678.
    United States Court of Appeals, Federal Circuit.
    Jan. 17, 1990.
    
      Before MAYER and MICHEL, Circuit Judges, and PETER BEER, District Judge*:
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         PETER BEER, District Judge, United States District Court for the Eastern District of Louisiana, sitting by designation
      
    
    